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                                        UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION


    In re: CENTRAL MARKET OF FL II,                            §    Case No. 8:20-bk-03815-RCT
           INC.                                                §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 05/15/2020. The
    undersigned trustee was appointed on 05/15/2020.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         559,070.82
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                 450,595.85
                            Administrative expenses                                11,526.62
                            Bank service fees                                         562.59
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           96,385.76
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 07/24/2020 and the deadline for filing
    governmental claims was 11/11/2020. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $31,203.54. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $31,203.54, for a
    total compensation of $31,203.542. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $0.00 and now requests reimbursement for expenses of $846.53 for total
    expenses of $846.532.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 10/19/2021                                     By: /s/ CAROLYN R. CHANEY
                                                                       Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                Exhibit A
                                       Individual Estate Property Record and Report                                                             Page: 1

                                                        Asset Cases
Case No.:    8:20-bk-03815-RCT                                                         Trustee Name:      (290680) CAROLYN R. CHANEY
Case Name:        CENTRAL MARKET OF FL II, INC.                                        Date Filed (f) or Converted (c): 05/15/2020 (f)
                                                                                       § 341(a) Meeting Date:       06/18/2020
For Period Ending:       10/19/2021                                                    Claims Bar Date:      07/24/2020

                                   1                            2                     3                      4                    5                  6

                           Asset Description                 Petition/        Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)   Unscheduled       (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                              Values                Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                            Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                       and Other Costs)

    1       Checking Account at Service First                       0.00                       0.00                                   0.00                        FA

    2       Checking Account at Synovus (funds                77,000.00                   77,000.00                              77,410.34                        FA
            frozen by court order)

    3       Checks not yet deposited                          87,000.00                   87,000.00                              87,000.00                        FA

    4       A/R 90 days old or less. Face amount =           200,000.00                200,000.00                             246,185.18                          FA
            $250,000.00. Doubtful/Uncollectible
            accounts = $50,000.00.

    5       8 trucks and 2 vans (estimated value)            200,000.00                200,000.00                                     0.00                        FA
            [See Description by Vehicle in Assets 9 -
            18]

    6       Coolers and other business equipment                5,000.00                   5,000.00                               1,625.00                        FA

    7       7430 Commerce Place, Sarasota, FL               1,050,000.00               150,000.00                                 7,500.00                        FA
            34243 PID:6653500006

    8       Refunds - Other (u)                                     0.00                       0.00                              18,241.75                        FA

    9       2016 HINO 268 DSL/Carrier 22' Ref Box                   0.00                   2,509.93                              17,750.00                        FA
            Truck [VIN# 5PVNE8JV3G4S54711]

   10       2015 HINO 33 DSL/Carrier 26' Ref Box                    0.00                  20,000.00                              11,750.00                        FA
            Truck [VIN# 5PVNV8JVXF4S54459]

   11       2011 HINO 268 DSL/Carrier 24' Ref Box                   0.00                  20,000.00                              11,500.00                        FA
            Truck [VIN# 5PVNE8JV4B4S51941]

   12       2010 HINO 268 DSL/Carrier 24' Ref Box                   0.00                  20,000.00                               8,000.00                        FA
            Truck [VIN# 5PVNE8JV2A4S51578]

   13       2008 HINO 269 DSL/Carrier 26' Box                       0.00                  20,000.00                               7,750.00                        FA
            Truck [VIN# 5PVNE8JV382S51109]

   14       2005 HINO DSL/Carrier 24' Ref Box                       0.00                  20,000.00                               5,000.00                        FA
            Truck [VIN# 5PVND8JT652S10163]

   15       2016 HINO 155 DSL/Carrier 16' Box                       0.00                  12,427.87                              15,500.00                        FA
            Truck [VIN# JHHYDM1H6GK002589]

   16       2016 Ford Transit/Carrier 12' Van [VIN#                 0.00                   7,642.72                              17,108.55                        FA
            1FTYR2XM6GKB11079]

   17       2014 Ford Transit Connect 6-DR Mini                     0.00                  20,000.00                               5,750.00                        FA
            Cargo Van [VIN#
            NMOLS7E78E1150507]

   18       2003 Great Dane 36' T/A/Thermo King                     0.00                  20,000.00                               4,000.00                        FA
            Ref Trailer [VIN# 1GRAA72293S027401]

   19       2013 HINO [VIN#                                         0.00                   7,419.42                              17,000.00                        FA
            5PVNE8JV9D4S53221]

   19       Assets Totals (Excluding unknown values)       $1,619,000.00              $888,999.94                           $559,070.82                     $0.00




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                                                       Form 1
                                                                                                                                    Exhibit A
                                   Individual Estate Property Record and Report                                                     Page: 2

                                                    Asset Cases
Case No.:   8:20-bk-03815-RCT                                                  Trustee Name:      (290680) CAROLYN R. CHANEY
Case Name:      CENTRAL MARKET OF FL II, INC.                                  Date Filed (f) or Converted (c): 05/15/2020 (f)
                                                                               § 341(a) Meeting Date:   06/18/2020
For Period Ending:    10/19/2021                                               Claims Bar Date:    07/24/2020


 Major Activities Affecting Case Closing:

                           04/18/21 - final estate tax returns completed and submitted to IRS. TFR submitted to UST 10/12/21.
                           03/15/21 - documents sent to CPA for employment to prepare final estate return. 03/26/21 - applic to employ
                           CPA for final estate return. Granted 04/01/21.
                           Prelim hrg on motion to approve settlement with PACA creditors to be held on 10/20/20. Settlement
                           approved.
                           07/09/20 - motion to sell real property to ServisFirst. 07/18/20 - public auction held to sell vehicles. 08/14/20 -
                           filed report of auction of 2013 Hino truck.
                           06/19/20 - application to employ auctioneer; motion to sell vehicles free and clear of liens; report and notice of
                           auction for 07/18/20.
                           06/01/0 - filed application to employ Robert Wahl as general counsel. 06/05/20 - filed applic to employ real
                           estate broker. Granted 06/11/20.
                           05/21/20 - contact w/ Tranzon re: auctioning property. 05/27/20 - made banking deposits.
                           05/18/20 - contacted atty for debtor info; contacted auctioneer to assess property.

 Initial Projected Date Of Final Report (TFR): 12/31/2021             Current Projected Date Of Final Report (TFR):    10/19/2021 (Actual)




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                                                                Form 2                                                                                   Exhibit B
                                                                                                                                                         Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                    Trustee Name:                      CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                        Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***5168                                           Account #:                         ******6000 Checking
For Period Ending:     10/19/2021                                           Blanket Bond (per case limit):     $30,832,000.00
                                                                            Separate Bond (if applicable):     N/A

    1            2                     3                                            4                                5                       6                       7

  Trans.    Check or       Paid To / Received From              Description of Transaction       Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code         $                         $

 05/22/20     {4}      Rolling Green Golf Course          A/R                                    1180-000                 125.30                                           125.30
 05/22/20     {4}      Rolling Green Golf Course          A/R                                    1180-000                  46.88                                           172.18
 05/27/20     {3}      Duffys Tavern of AMI LLC           A/R                                    1180-000                 310.32                                           482.50
 05/27/20     {3}      A Moveable Feast of Longboat Inc A/R                                      1180-000                 941.01                                          1,423.51
 05/27/20     {3}      The Loose Caboose of Boca          A/R                                    1180-000                 169.74                                          1,593.25
                       Grande, Inc
 05/27/20     {3}      Andres Jorge LLC                   A/R                                    1180-000                2,915.05                                         4,508.30
 05/27/20     {3}      America At Play Englewood Inc      A/R                                    1180-000                  35.93                                          4,544.23
 05/27/20     {3}      Newlins Inc                        A/R                                    1180-000                  95.61                                          4,639.84
 05/27/20     {3}      Happys Market, LLC                 A/R                                    1180-000                  35.00                                          4,674.84
 05/27/20     {3}      FushiPoke, Co                      A/R                                    1180-000                 169.47                                          4,844.31
 05/27/20     {3}      The Overton LLC                    A/R                                    1180-000                 467.46                                          5,311.77
 05/27/20     {3}      Hudsons Grocery LLC                A/R                                    1180-000                1,182.09                                         6,493.86
 05/27/20     {3}      Happys Market, LLC                 A/R                                    1180-000                  99.62                                          6,593.48
 05/27/20     {3}      Hudsons Grocery LLC                A/R                                    1180-000                 815.48                                          7,408.96
 05/27/20     {3}      The Sage Biscuit Cafe              A/R                                    1180-000                 497.75                                          7,906.71
 05/27/20     {3}      Island Fresh Market AMI, LLC       A/R                                    1180-000                 111.47                                          8,018.18
 05/27/20     {3}      Island Fresh Market AMI, LLC       A/R                                    1180-000                  51.00                                          8,069.18
 05/27/20     {3}      The Sage Biscuit Cafe              A/R                                    1180-000                 171.12                                          8,240.30
 05/27/20     {3}      GKB Restaurants, LLC               A/R                                    1180-000                1,164.85                                         9,405.15
 05/27/20     {3}      Tasty Home Cookin                  A/R                                    1180-000                  83.36                                          9,488.51
 05/27/20     {3}      The Cutter Corporation             A/R                                    1180-000                 173.87                                          9,662.38
 05/27/20     {3}      Newlins Inc                        A/R                                    1180-000                  53.91                                          9,716.29
 05/27/20     {3}      Hudsons Grocery LLC                A/A                                    1180-000                1,377.86                                        11,094.15
 05/27/20     {3}      Annies of Cortez Inc               A/R                                    1180-000                  75.35                                         11,169.50
 05/27/20     {3}      Island Fresh Market AMI, LLC       A/R                                    1180-000                 105.62                                         11,275.12
 05/27/20     {3}      The Sage Biscuit Cafe              A/R                                    1180-000                 442.86                                         11,717.98
 05/27/20     {3}      FushiPoke, Co                      A/R                                    1180-000                 184.88                                         11,902.86
 05/27/20     {3}      Vt Pals Inc                        A/R                                    1180-000                 861.07                                         12,763.93
 05/27/20     {3}      Richard T Knowles                  A/R                                    1180-000                 300.66                                         13,064.59
 05/27/20     {3}      River Strand Golf & Country Club   A/R                                    1180-000                 714.58                                         13,779.17
 05/27/20     {3}      The Cutter Corporation             A/R                                    1180-000                  85.51                                         13,864.68
 05/27/20     {3}      Bogeys of Venice, LLC              A/R                                    1180-000                 220.47                                         14,085.15
 05/27/20     {3}      Sarasota National Master           A/R                                    1180-000                 195.82                                         14,280.97
                       Association, Inc
 05/27/20     {3}      The Oaks Club Corporation          A/R                                    1180-000                1,343.66                                        15,624.63
 05/27/20     {3}      The Meadows Country Club           A/R                                    1180-000                2,245.79                                        17,870.42
 05/27/20     {3}      Stoneybrook Golf & Country Club    A/R                                    1180-000                2,287.16                                        20,157.58
                       of Sarasota, Inc
 05/27/20     {3}      River Strand Golf & Country Club   A/R                                    1180-000                 368.44                                         20,526.02
 05/27/20     {3}      River Strand Golf & Country Club   A/R                                    1180-000                 798.27                                         21,324.29
 05/27/20     {3}      River Strand Golf & Country Club   A/R                                    1180-000                 334.53                                         21,658.82
 05/27/20     {3}      Bird Key Yacht Club                A/R                                    1180-000                 922.94                                         22,581.76

                                                                                             Page Subtotals:      $22,581.76                     $0.00


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                         ! - transaction has not been cleared
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                                                               Form 2                                                                                    Exhibit B
                                                                                                                                                         Page: 2
                                               Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                    Trustee Name:                      CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                        Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***5168                                           Account #:                         ******6000 Checking
For Period Ending:     10/19/2021                                           Blanket Bond (per case limit):     $30,832,000.00
                                                                            Separate Bond (if applicable):     N/A

    1            2                      3                                           4                                5                       6                       7

  Trans.    Check or        Paid To / Received From             Description of Transaction       Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code         $                         $

 05/27/20     {3}      River Strand Golf & Country Club   A/R                                    1180-000                 667.42                                         23,249.18
 05/27/20     {3}      Sarasota Restaurant Enterprises    A/R                                    1180-000                3,631.92                                        26,881.10
                       Inc
 05/27/20     {3}      Temptation Restaurant of Boca      A/R                                    1180-000                1,051.32                                        27,932.42
                       Grande LLC
 05/27/20     {3}      Demetrios Pizza House, Inc         A/R                                    1180-000                 876.47                                         28,808.89
 05/27/20     {3}      LWR - Restaurant Holdings LLC      A/R                                    1180-000                1,173.40                                        29,982.29
                       dba Grove
 05/27/20     {3}      PIER 22                            A/R                                    1180-000                 955.40                                         30,937.69
 05/27/20     {3}      Bogeys of Venice, LLC              A/R                                    1180-000                4,435.94                                        35,373.63
 05/27/20     {3}      Shore Food Group, LLC              A/R                                    1180-000                2,022.89                                        37,396.52
 05/27/20     {3}      Marina Bar and Grille, LLC         A/R                                    1180-000                 419.13                                         37,815.65
 05/27/20     {3}      University Park Country Club       A/R                                    1180-000                 402.44                                         38,218.09
 05/27/20     {3}      Newlins Inc                        A/R                                    1180-000                  48.45                                         38,266.54
 05/27/20     {3}      The Loose Caboose of Boca          A/R                                    1180-000                 128.49                                         38,395.03
                       Grande, Inc
 05/27/20     {3}      Bricks Smoked Neats                A/R                                    1180-000                 707.76                                         39,102.79
 05/27/20     {3}      PT Foster Cafe and Gift Store      A/R                                    1180-000                 509.50                                         39,612.29
                       LLC
 05/27/20     {3}      Lets DO This Beaches, LP           A/R                                    1180-000                 230.89                                         39,843.18
 05/27/20     {3}      La Ciudad, LLC                     A/R                                    1180-000                 500.00                                         40,343.18
 05/27/20     {3}      Mi Pueblo Enterprises, LLC         A/R                                    1180-000                 500.00                                         40,843.18
 05/27/20     {3}      Mi Pueblo Inc                      A/R                                    1180-000                 500.00                                         41,343.18
 05/27/20     {3}      National Church Residences         A/R                                    1180-000                 340.50                                         41,683.68
 05/28/20     {3}      Key Royale Club, Inc               A/R                                    1180-000                 122.04                                         41,805.72
 05/28/20     {3}      America at Play Englewood Inc      A/R                                    1180-000                1,141.84                                        42,947.56
 05/28/20     {3}      Aviva                              A/R                                    1180-000                 974.14                                         43,921.70
 05/28/20     {3}      Aviva                              A/R                                    1180-000                2,976.05                                        46,897.75
 05/28/20     {3}      Bird Key Yacht Club                A/R                                    1180-000                 759.70                                         47,657.45
 05/28/20     {3}      Crescent Beach Grocery, LLC        A/R                                    1180-000                 653.93                                         48,311.38
 05/28/20     {3}      Danajao, Lc                        A/R                                    1180-000                6,670.62                                        54,982.00
 05/28/20     {3}      Euphemia Hay Restaurant Inc        A/R                                    1180-000                 347.87                                         55,329.87
 05/28/20     {3}      FushiPoke, Co.                     A/R                                    1180-000                 215.26                                         55,545.13
 05/28/20     {3}      Gasparilla Inn, Inc                A/R                                    1180-000                3,555.52                                        59,100.65
 05/28/20     {3}      HR Sarasota Operator, LLC          A/R                                    1180-000                1,227.24                                        60,327.89
 05/28/20     {3}      Longbeach Cafe LLC                 A/R                                    1180-000                 215.72                                         60,543.61
 05/28/20     {3}      Hudsons Grocery LLC                A/R                                    1180-000                 685.28                                         61,228.89
 05/28/20     {3}      Hudsons Grocery LLC                A/R                                    1180-000                 730.75                                         61,959.64
 05/28/20     {3}      Hudsons Grocery LLC                A/R                                    1180-000                 371.88                                         62,331.52
 05/28/20     {4}      IMG Bollettieri Academies CC,      A/R                                    1180-000                  41.00                                         62,372.52
                       LLC
 05/28/20     {3}      Island Fresh Market AMI, LLC       A/R                                    1180-000                 129.57                                         62,502.09
 05/28/20     {3}      Jacaranda Trace Commercial,        A/R                                    1180-000                1,457.43                                        63,959.52
                       LLC


                                                                                             Page Subtotals:      $41,377.76                     $0.00


{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                        ! - transaction has not been cleared
                                Case 8:20-bk-03815-RCT                            Doc 87           Filed 11/01/21            Page 7 of 27

                                                                 Form 2                                                                                   Exhibit B
                                                                                                                                                          Page: 3
                                                 Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                     Trustee Name:                      CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                         Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***5168                                            Account #:                         ******6000 Checking
For Period Ending:     10/19/2021                                            Blanket Bond (per case limit):     $30,832,000.00
                                                                             Separate Bond (if applicable):     N/A

    1            2                      3                                            4                                5                       6                       7

  Trans.    Check or       Paid To / Received From               Description of Transaction         Uniform       Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                                Tran. Code       $                         $

 05/28/20     {3}      Jacaranda Trace Commercial,         A/R                                     1180-000                766.17                                         64,725.69
                       LLC
 05/28/20     {4}      LS Food, LLC                        A/R                                     1180-000                 46.42                                         64,772.11
 05/28/20     {3}      Lakewood Ranch Golf Company         A/R                                     1180-000               1,047.85                                        65,819.96
                       LLC
 05/28/20     {3}      Siesta Village Cafe Inc             A/R                                     1180-000                241.78                                         66,061.74
 05/29/20     {3}      WD Creative Solutions               A/R                                     1180-000                288.00                                         66,349.74
 05/29/20     {3}      Lynns Liquors, Inc                  A/R                                     1180-000                118.00                                         66,467.74
 05/29/20     {3}      Mortons Gourmet Inc                 A/R                                     1180-000               7,219.90                                        73,687.64
 05/29/20     {4}      Newlin's Inc                        A/R                                     1180-000                  9.33                                         73,696.97
 05/29/20     {3}      Newlin's Inc                        A/R                                     1180-000                 97.41                                         73,794.38
 05/29/20     {3}      OBricks Irish Pub, LLC              A/R                                     1180-000                143.39                                         73,937.77
 05/29/20     {3}      OBricks Irish Pub, LLC              A/R                                     1180-000               1,636.51                                        75,574.28
 05/29/20     {3}      Palm Aire Country Club at           A/R                                     1180-000                276.25                                         75,850.53
                       Sarasota
 05/29/20     {3}      Sarasota Bay Club Management        A/R                                     1180-000               3,203.82                                        79,054.35
                       Company
 05/29/20     {3}      Sarasota Ford                       A/R                                     1180-000                156.35                                         79,210.70
 05/29/20     {3}      Shore Food Group, LLC               A/R                                     1180-000               1,517.03                                        80,727.73
 05/29/20     {3}      Stoneybrook Golf & Country Club     A/R                                     1180-000                512.97                                         81,240.70
                       of Sarasota, Inc.
 05/29/20     {4}      Sunnyside Properties of Sarasota,   A/R                                     1180-000                433.45                                         81,674.15
                       Inc
 05/29/20     {3}      Sunnyside Properties of Sarasota,   A/R                                     1180-000               1,005.74                                        82,679.89
                       Inc.
 05/29/20     {4}      Tasty Home Cookin                   A/R                                     1180-000                 73.86                                         82,753.75
 05/29/20     {3}      The Cutter Corporation              A/R                                     1180-000                702.27                                         83,456.02
 05/29/20     {3}      The Oaks Club corporation           A/R                                     1180-000               1,859.40                                        85,315.42
 05/29/20              The Sage Biscuit Cafe               A/R                                                             316.83                                         85,632.25
              {3}                                          A/R                                     1180-000
                                                                                           $7.97
              {4}                                          A/R                                     1180-000
                                                                                         $308.86
 05/29/20     {4}      The Loose Caboose of Boca           A/R                                     1180-000                158.38                                         85,790.63
                       Grande, Inc.
 05/29/20     {4}      The Loose Caboose of Boca           A/R                                     1180-000                 97.95                                         85,888.58
                       Grande, Inc.
 05/29/20     {4}      The Sarasota Modern                 A/R                                     1180-000                896.85                                         86,785.43
 05/29/20     {3}      The Field Club                      A/R                                     1180-000               2,452.85                                        89,238.28
 05/29/20     {4}      The Boca Grande Club, Inc           A/R                                     1180-000                129.93                                         89,368.21
 05/29/20     {4}      University Park Country Club        A/R                                     1180-000               2,044.58                                        91,412.79
 05/29/20     {4}      Venetian Golf Club                  A/R                                     1180-000               1,211.78                                        92,624.57
 05/29/20     {4}      Venice Golf and Country Club No     A/R                                     1180-000               1,269.19                                        93,893.76
                       1 Inc
 05/29/20     {4}      Watermark Lake Pointe Woods,        A/R                                     1180-000               2,438.87                                        96,332.63
                       LLC


                                                                                              Page Subtotals:      $32,373.11                     $0.00


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                          ! - transaction has not been cleared
                                 Case 8:20-bk-03815-RCT                           Doc 87         Filed 11/01/21              Page 8 of 27

                                                                 Form 2                                                                                   Exhibit B
                                                                                                                                                          Page: 4
                                                 Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                     Trustee Name:                      CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                         Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***5168                                            Account #:                         ******6000 Checking
For Period Ending:     10/19/2021                                            Blanket Bond (per case limit):     $30,832,000.00
                                                                             Separate Bond (if applicable):     N/A

    1            2                        3                                          4                                5                       6                       7

  Trans.    Check or        Paid To / Received From              Description of Transaction       Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                              Tran. Code         $                         $

 05/29/20     {4}      WELD, Inc dba Sandbar               A/R                                    1180-000                 207.92                                         96,540.55
                       Restaurant
 05/29/20     {4}      Venice Yacht Club                   A/R                                    1180-000                 539.98                                         97,080.53
 05/29/20     {4}      Academy Hotel LLC                   A/R                                    1180-000                2,501.05                                        99,581.58
 05/29/20     {4}      America at Play Inc                 A/R                                    1180-000                 461.09                                     100,042.67
 05/29/20     {4}      Bird Key Yacht Club                 A/R                                    1180-000                 486.32                                     100,528.99
 05/29/20     {4}      Boca Bay Pass Club Corporation      A/R                                    1180-000                 968.37                                     101,497.36
 05/29/20     {4}      Boca Royale Country Club LLC        A/R                                    1180-000                 408.97                                     101,906.33
 05/29/20     {4}      Crescent Beach Grocery, LLC         A/R                                    1180-000                 340.46                                     102,246.79
 05/29/20     {4}      Crows Nest Restaurant Marina        A/R                                    1180-000                1,577.53                                    103,824.32
                       LLC
 05/29/20     {4}      Duvals of Sarasota, LLC             A/R                                    1180-000                  91.10                                     103,915.42
 05/29/20     {4}      Gasparilla Inn, Inc.                A/R                                    1180-000                4,587.89                                    108,503.31
 05/29/20     {4}      Island Fresh Market AMI, LLC        A/R                                    1180-000                  69.92                                     108,573.23
 05/29/20     {4}      J Squared Management LLC            A/R                                    1180-000                 876.33                                     109,449.56
 05/29/20     {4}      HR Sarasota Operator, LLC           A/R                                    1180-000                 912.48                                     110,362.04
 05/29/20     {4}      Kappy's Market, LLC                 A/R                                    1180-000                 150.91                                     110,512.95
 05/29/20     {4}      Jacaranda Trace Commercial,         A/R                                    1180-000                1,110.58                                    111,623.53
                       LLC
 05/29/20     {4}      Lakewood National Golf Club Inc     A/R                                    1180-000                 145.00                                     111,768.53
 05/29/20     {4}      Laurel Oak Country Club             A/R                                    1180-000                 353.50                                     112,122.03
 05/29/20     {4}      LWR-Restaurant Holdings LLC         A/R                                    1180-000                1,626.15                                    113,748.18
                       dba Grove
 05/29/20     {4}      Mainsail AMI Marina, LLLP           A/R                                    1180-000                 425.67                                     114,173.85
 05/29/20     {4}      Marina Bar and Grille, LLC          A/R                                    1180-000                1,037.30                                    115,211.15
 05/29/20     {4}      Venice Golf and Country Club No.    A/R                                    1180-000                 639.89                                     115,851.04
                       1 Inc.
 05/29/20     {4}      Morton's Gourmet Inc.               A/R                                    1180-000                7,503.11                                    123,354.15
 05/29/20     {4}      PT Foster Cafe and Gift Store       A/R                                    1180-000                 641.73                                     123,995.88
                       LLC
 05/29/20     {4}      Palm Aire Country Club at           A/R                                    1180-000                 609.00                                     124,604.88
                       Sarasota
 05/29/20     {4}      PIER 22                             A/R                                    1180-000                1,476.65                                    126,081.53
 05/29/20     {4}      Pier 22 Catering                    A/R                                    1180-000                 682.75                                     126,764.28
 05/29/20     {4}      Plymouth Harbor, Inc                A/R                                    1180-000                5,248.01                                    132,012.29
 05/29/20     {4}      River Strand Golf & Country Club    A/R                                    1180-000                 591.40                                     132,603.69
 05/29/20     {4}      River Strand Golf & Country Club    A/R                                    1180-000                 179.67                                     132,783.36
 05/29/20     {4}      Shore Food Group, LLC               A/R                                    1180-000                3,853.70                                    136,637.06
 05/29/20     {4}      Sunnyside Properties of Sarasota,   A/R                                    1180-000                 675.46                                     137,312.52
                       Inc.
 05/29/20     {4}      Sunnyside Properties of Sarasota,   A/R                                    1180-000                 421.50                                     137,734.02
                       Inc.
 05/29/20     {4}      The Meadows Country Club Inc.       A/R                                    1180-000                1,991.16                                    139,725.18
 05/29/20     {4}      The Oaks Club Corporation           A/R                                    1180-000                1,126.90                                    140,852.08
 05/29/20     {4}      The Sage Biscuit Cafe               A/R                                    1180-000                 272.82                                     141,124.90
 05/29/20     {4}      The Waterfront Restaurant           A/R                                    1180-000                 940.14                                     142,065.04
                                                                                              Page Subtotals:      $45,732.41                     $0.00


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                          ! - transaction has not been cleared
                                 Case 8:20-bk-03815-RCT                         Doc 87         Filed 11/01/21              Page 9 of 27

                                                                 Form 2                                                                                 Exhibit B
                                                                                                                                                        Page: 5
                                                 Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                   Trustee Name:                      CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                       Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***5168                                          Account #:                         ******6000 Checking
For Period Ending:     10/19/2021                                          Blanket Bond (per case limit):     $30,832,000.00
                                                                           Separate Bond (if applicable):     N/A

    1            2                        3                                        4                                5                       6                       7

  Trans.    Check or        Paid To / Received From            Description of Transaction       Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code         $                         $

 05/29/20     {4}      Venetian Golf Club                A/R                                    1180-000                1,122.17                                    143,187.21
 06/03/20     {4}      Euphemia Haye Restaurant, Inc.    A/R                                    1180-000                 370.34                                     143,557.55
 06/03/20     {4}      A Moveable Feast of Longboat Inc A/R                                     1180-000                1,562.09                                    145,119.64
 06/03/20     {4}      America at Play Englewood Inc.    A/R                                    1180-000                 502.44                                     145,622.08
 06/03/20     {4}      Aviva                             A/R                                    1180-000                 950.26                                     146,572.34
 06/03/20     {4}      Bird Key Yacht Club               A/R                                    1180-000                 468.69                                     147,041.03
 06/03/20     {4}      Captain Eddies Seafood            A/R                                    1180-000                 247.40                                     147,288.43
 06/03/20     {4}      Crows Nest Restaurant Marina      A/R                                    1180-000                1,181.14                                    148,469.57
                       LLC
 06/03/20     {4}      Demetrios Pizza House, Inc.       A/R                                    1180-000                1,047.30                                    149,516.87
 06/03/20     {4}      Desoto Palms                      A/R                                    1180-000                 288.88                                     149,805.75
 06/03/20     {4}      ELRA, Inc dba Beach House         A/R                                    1180-000                 405.40                                     150,211.15
                       Restaurant
 06/03/20     {4}      LWR-Restaurant Holdings LLC       A/R                                    1180-000                5,039.22                                    155,250.37
                       dba Grove
 06/03/20     {4}      FushiPoke, Co.                    A/R                                    1180-000                 165.94                                     155,416.31
 06/03/20     {4}      Gasparilla Inn, Inc.              A/R                                    1180-000                1,405.38                                    156,821.69
 06/03/20     {4}      HR Sarasota Operator, LLC         A/R                                    1180-000                 300.75                                     157,122.44
 06/03/20     {4}      J Squared Management LLC          A/R                                    1180-000                 406.14                                     157,528.58
 06/03/20     {4}      Jacaranda Trace Commercial,       A/R                                    1180-000                 720.03                                     158,248.61
                       LLC
 06/03/20     {4}      La Ciudad, LLC                    A/R                                    1180-000                 500.00                                     158,748.61
 06/03/20     {4}      Lakewood Ranch Golf Company       A/R                                    1180-000                1,409.27                                    160,157.88
                       LLC
 06/03/20     {4}      Laurel Oak Country Club           A/R                                    1180-000                1,355.24                                    161,513.12
 06/03/20     {4}      Let's DO This Beaches, LP         A/R                                    1180-000                 305.04                                     161,818.16
 06/03/20     {4}      Sarasota Bay Club Management      A/R                                    1180-000                2,937.51                                    164,755.67
                       Company
 06/03/20     {4}      PIER 22                           A/R                                    1180-000                2,151.55                                    166,907.22
 06/03/20     {4}      Pier 22 Catering                  A/R                                    1180-000                 257.55                                     167,164.77
 06/03/20     {4}      The Cutter Corporation            A/R                                    1180-000                 636.23                                     167,801.00
 06/03/20     {4}      Marina Bar and Grille, LLC        A/R                                    1180-000                1,805.47                                    169,606.47
 06/03/20     {4}      MarVista Pub, Inc                 A/R                                    1180-000                 313.00                                     169,919.47
 06/03/20     {4}      Mi Pueblo Enterprises, LLC        A/R                                    1180-000                 500.00                                     170,419.47
 06/03/20     {4}      Mi Pueblo Inc                     A/R                                    1180-000                 500.00                                     170,919.47
 06/03/20     {4}      Morton's Gourmet Inc.             A/R                                    1180-000                7,480.25                                    178,399.72
 06/03/20     {4}      OBricks Irish Pub, LLC            A/R                                    1180-000                 492.82                                     178,892.54
 06/03/20     {4}      WELD, Inc. dba Sandbar            A/R                                    1180-000                1,762.58                                    180,655.12
                       Restaurant
 06/03/20     {4}      Sarasota Restaurant Enterprises   A/R                                    1180-000                5,636.66                                    186,291.78
                       Inc.
 06/03/20     {4}      Stoneybrook Golf & Country Club   A/R                                    1180-000                1,381.74                                    187,673.52
                       of Sarasota, Inc.
 06/03/20     {4}      Temptation Restaurant of Boca     A/R                                    1180-000                 933.90                                     188,607.42
                       Grande LLC
 06/03/20     {4}      The Boca Grande Club, Inc.        A/R                                    1180-000                 729.29                                     189,336.71

                                                                                            Page Subtotals:      $47,271.67                     $0.00


{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                       ! - transaction has not been cleared
                                Case 8:20-bk-03815-RCT                           Doc 87          Filed 11/01/21             Page 10 of 27

                                                                  Form 2                                                                                     Exhibit B
                                                                                                                                                             Page: 6
                                                  Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                     Trustee Name:                      CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                         Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***5168                                            Account #:                         ******6000 Checking
For Period Ending:     10/19/2021                                            Blanket Bond (per case limit):     $30,832,000.00
                                                                             Separate Bond (if applicable):     N/A

    1            2                      3                                            4                                5                       6                          7

  Trans.    Check or        Paid To / Received From              Description of Transaction       Uniform         Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                              Tran. Code         $                         $

 06/03/20     {4}      The Boca Grande Club, Inc.          A/R                                    1180-000                 469.20                                        189,805.91
 06/03/20     {4}      The Field Club                      A/R                                    1180-000                1,313.63                                       191,119.54
 06/03/20     {4}      University Park Country Club        A/R                                    1180-000                 471.61                                        191,591.15
 06/03/20     {4}      Venice Golf and Country Club No.    A/R                                    1180-000                 221.93                                        191,813.08
                       1 Inc.
 06/04/20     {4}      The Waterfront Restaurant           A/R                                    1180-000                 399.86                                        192,212.94
 06/04/20     {4}      Gasparilla Inn, Inc.                A/R                                    1180-000                 670.00                                        192,882.94
 06/04/20     {4}      Plymouth Harbor, Inc.               A/R                                    1180-000                 594.84                                        193,477.78
 06/05/20     {4}      State Street Cookery                A/R                                    1180-000                 615.45                                        194,093.23
 06/09/20     {4}      Venice Yacht Club                   A/R                                    1180-000                 885.55                                        194,978.78
 06/09/20     {4}      Academy Hotel LLC                   A/R                                    1180-000                1,398.50                                       196,377.28
 06/09/20     {4}      Aviva                               A/R                                    1180-000                 575.14                                        196,952.42
 06/09/20     {4}      Aviva                               A/R                                    1180-000                 518.10                                        197,470.52
 06/09/20     {4}      Aviva                               A/R                                    1180-000                 734.32                                        198,204.84
 06/09/20     {4}      Detwilers Operations Inc            A/R                                    1180-000                2,020.50                                       200,225.34
 06/09/20     {4}      Key Royale Club, Inc.               A/R                                    1180-000                 833.95                                        201,059.29
 06/09/20     {4}      Lakewood National Golf Club Inc.    A/R                                    1180-000                 461.80                                        201,521.09
 06/09/20     {4}      Meals on Wheels Plus of             A/R                                    1180-000                1,566.00                                       203,087.09
                       Manatee, Inc
 06/09/20     {4}      Morton's Gourmet Inc.               A/R                                    1180-000                4,643.47                                       207,730.56
 06/09/20     {4}      The Oaks Club Corporation           A/R                                    1180-000                1,893.25                                       209,623.81
 06/09/20     {4}      Sunnyside Properties of Sarasota,   A/R                                    1180-000                 701.75                                        210,325.56
                       Inc.
 06/09/20     {4}      Sunnyside Properties of Sarasota,   A/R                                    1180-000                 158.61                                        210,484.17
                       Inc.
 06/09/20     {4}      The Field Club                      A/R                                    1180-000                1,730.78                                       212,214.95
 06/11/20     {4}      Bird Key Yacht Club                 A/R                                    1180-000                1,197.95                                       213,412.90
 06/11/20     {4}      Bird Key Yacht Club                 A/R                                    1180-000                 268.50                                        213,681.40
 06/11/20     {4}      J Squared Management LLC            A/R                                    1180-000                 406.14                                        214,087.54
 06/11/20     {4}      Laurel Oak Country Club             A/R                                    1180-000                 335.50                                        214,423.04
 06/11/20     {4}      Simons Coffee Shop                  A/R                                    1180-000                1,120.41                                       215,543.45
 06/11/20     {4}      Sarasota Bay Club Management        A/R                                    1180-000                2,015.41                                       217,558.86
                       Company
 06/11/20     {4}      The Oaks Club corporation           A/R                                    1180-000                 502.00                                        218,060.86
 06/11/20     {8}      United HealthCare Svs Inc           Refund of Insurance Premium            1290-000                3,538.20                                       221,599.06
 06/11/20     {8}      Westfield Insurance                 Refund of Insurance Premium            1290-000                 178.00                                        221,777.06
 06/12/20     {4}      Venetian Golf Club                  A/R                                    1180-000                 234.04                                        222,011.10
 06/12/20     {4}      Richard T Knowles                   A/R                                    1180-000                  95.03                                        222,106.13
 06/12/20              To Account #******6001              Transfer out of A/R account            9999-000                                         178.00                221,928.13
 06/12/20              To Account #******6001              Transfer from A/R account              9999-000                                        3,538.20               218,389.93
 06/16/20     {4}      Watermark Lake Pointe Woods,        A/R                                    1180-000                2,678.91                                       221,068.84
                       LLC
 06/16/20     {4}      Caragiulo                           A/R                                    1180-000                2,087.54                                       223,156.38
 06/16/20     {4}      Fish Camp Partners, LLC             A/R                                    1180-000                1,741.27                                       224,897.65


                                                                                              Page Subtotals:      $39,277.14               $3,716.20


{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                         ! - transaction has not been cleared
                                Case 8:20-bk-03815-RCT                          Doc 87           Filed 11/01/21              Page 11 of 27

                                                                  Form 2                                                                                   Exhibit B
                                                                                                                                                           Page: 7
                                                  Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                    Trustee Name:                       CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                        Bank Name:                          Mechanics Bank
Taxpayer ID #:         **-***5168                                           Account #:                          ******6000 Checking
For Period Ending:     10/19/2021                                           Blanket Bond (per case limit):      $30,832,000.00
                                                                            Separate Bond (if applicable):      N/A

    1            2                      3                                           4                                  5                       6                       7

  Trans.    Check or        Paid To / Received From             Description of Transaction        Uniform         Deposit                Disbursement        Account Balance
   Date      Ref. #                                                                              Tran. Code         $                          $

 06/16/20     {4}      Sarasota Restaurant Enterprises    A/R                                     1180-000                 3,005.35                                    227,903.00
                       Inc.
 06/16/20     {4}      Sarasota National Master           A/R                                     1180-000                  284.02                                     228,187.02
                       Association, Inc.
 06/18/20     {4}      Bricks Smoked Meats                A/R                                     1180-000                 1,893.49                                    230,080.51
 06/30/20     {4}      Tilden & Prohidney, PL             A/R                                     1180-000                 2,751.60                                    232,832.11
 06/30/20     {4}      Academy Hotel LLC                  A/R                                     1180-000                 1,087.69                                    233,919.80
 06/30/20     {4}      Academy Hotel LLC                  A/R                                     1180-000                 1,215.64                                    235,135.44
 06/30/20     {4}      Alpine Gourmet Foods LLC           A/R                                     1180-000                 3,759.46                                    238,894.90
 06/30/20     {4}      Clasico Red LLC                    A/R                                     1180-000                  476.89                                     239,371.79
 06/30/20     {4}      Concert Plantation, LLC            A/R                                     1180-000                  153.60                                     239,525.39
 06/30/20     {4}      Danjao, LLC                        A/R                                     1180-000                  960.63                                     240,486.02
 06/30/20     {4}      Desoto Palms                       A/R                                     1180-000                  125.84                                     240,611.86
 06/30/20     {4}      Favs Italian Cucina, Inc           A/R                                     1180-000                  207.11                                     240,818.97
 06/30/20     {4}      Lakewood National Golf Club Inc.   A/R                                     1180-000                  454.50                                     241,273.47
 06/30/20     {4}      Vt Pals Inc.                       A/R                                     1180-000                  363.36                                     241,636.83
 06/30/20     {4}      MarVista Pub, Inc.                 A/R                                     1180-000                  309.00                                     241,945.83
 06/30/20     {4}      Sara Bay Country Club Inc          A/R                                     1180-000                  171.10                                     242,116.93
 06/30/20     {4}      Sarasota Restaurant Enterprises    A/R                                     1180-000                 2,860.28                                    244,977.21
                       Inc.
 06/30/20     {4}      The Field Club                     A/R                                     1180-000                  335.98                                     245,313.19
 06/30/20     {4}      The Sarasota Modern                A/R                                     1180-000                   84.00                                     245,397.19
 06/30/20     {4}      The Sarasota Modern                A/R                                     1180-000                  395.25                                     245,792.44
 06/30/20     {4}      Temptation Restaurant of Boca      A/R                                     1180-000                  310.40                                     246,102.84
                       Grande LLC
 06/30/20     {4}      Venetian Golf Club                 A/R                                     1180-000                  739.87                                     246,842.71
 07/07/20     {4}      Stottlemyers Smokehouse, LLC       A/R                                     1180-000                  212.78                                     247,055.49
 07/07/20     {4}      Academy Hotel LLC                  A/R                                     1180-000                  912.62                                     247,968.11
 07/13/20     {4}      Sarasota Restaurant Enterprises    A/R                                     1180-000                 1,132.97                                    249,101.08
                       Inc.
 07/13/20     {4}      The Sarasota Modern                A/R                                     1180-000                  256.90                                     249,357.98
 07/20/20     {4}      Sarasota Restaurant Enterprises    A/R                                     1180-000                 2,508.98                                    251,866.96
                       Inc.
 07/20/20     {4}      Aviva                              A/R                                     1180-000                 3,532.66                                    255,399.62
 07/28/20              BAY AREA AUCTION                   Auction Proceeds from Public                                105,125.00                                       360,524.62
                       SERVICES, INC.                     Auction, Doc. No. 22.
              {17}                                        Sale of vehicle at Public Auction       1129-000
                                                                                    $5,750.00
              {12}                                        Sale of vehicle at Public Auction       1129-000
                                                                                    $8,000.00
              {18}                                        Sale of vehicle at Public Auction       1129-000
                                                                                    $4,000.00
              {14}                                        Sale of vehicle at Public Auction       1129-000
                                                                                    $5,000.00


                                                                                              Page Subtotals:    $135,626.97                       $0.00


{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                          ! - transaction has not been cleared
                               Case 8:20-bk-03815-RCT                           Doc 87          Filed 11/01/21           Page 12 of 27

                                                                 Form 2                                                                                 Exhibit B
                                                                                                                                                        Page: 8
                                                 Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                    Trustee Name:                    CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                        Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***5168                                           Account #:                       ******6000 Checking
For Period Ending:     10/19/2021                                           Blanket Bond (per case limit):   $30,832,000.00
                                                                            Separate Bond (if applicable):   N/A

    1            2                      3                                           4                              5                       6                        7

  Trans.    Check or       Paid To / Received From              Description of Transaction       Uniform       Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                             Tran. Code       $                         $

              {15}                                        Sale of vehicle at Public Auction      1129-000
                                                                                   $15,500.00
              {16}                                        Sale of vehicle at Public Auction      1129-000
                                                                                   $16,500.00
              {9}                                         Sale of vehicle at Public Auction      1129-000
                                                                                   $17,750.00
              {10}                                        Sale of vehicle at Public Auction      1129-000
                                                                                   $11,750.00
              {11}                                        Sale of vehicle at Public Auction      1129-000
                                                                                   $11,500.00
              {13}                                        Sale of vehicle at Public Auction      1129-000
                                                                                    $7,750.00
              {6}                                         Sale at Public Auction                 1129-000
                                                                                    $1,625.00
 07/31/20     {4}      Cortez Bait & Seafood Inc          A/R                                    1180-000              1,682.48                                     362,207.10
 07/31/20              To Account #******6001             Transfer from A/R account to           9999-000                                 105,125.00                257,082.10
                                                          Checking 2
 07/31/20              Mechanics Bank                     Bank and Technology Services           2600-000                                      43.16                257,038.94
                                                          Fees
 08/04/20     {4}      Flynns on Venice Ave               A/R                                    1180-000               445.34                                      257,484.28
 08/04/20     {4}      Stottlemyer's Smokehouse, LLC      A/R                                    1180-000               623.15                                      258,107.43
 08/07/20     {4}      Wong Kai Imports Inc               A/R                                    1180-000               126.00                                      258,233.43
 08/07/20     {2}      Synovus Bank                       Turnover of Funds in checking          1129-000          77,410.34                                        335,643.77
                                                          account
 08/17/20              Mechanics Bank                     Bank and Technology Services           2600-000                                      -43.16               335,686.93
                                                          Fees
 09/02/20     {4}      The Sarasota Modern                A/R                                    1180-000               392.70                                      336,079.63
 09/14/20     {4}      Knatson Enterprises Inc            A/R                                    1180-000              4,649.10                                     340,728.73
 10/10/20     {4}      Longboat Key Club                  A/R                                    1180-000          29,866.79                                        370,595.52
 10/29/20     {4}      Mi Pueblo Inc                      A/R                                    1180-000              3,000.00                                     373,595.52
 10/29/20     {4}      Mi Pueblo Enterprises, LLC         A/R                                    1180-000          16,000.00                                        389,595.52
 10/29/20     {4}      La Cuidad, LLC                     A/R                                    1180-000          21,000.00                                        410,595.52
 12/04/20     101      STEVEN M. DE FALCO,                Payment of PACA Trust Account          4220-000                                 410,595.52                      0.00
                       ESQUIRE                            Receivables to Escrow Agent per
                                                          Order Granting Settlement, Doc.
                                                          No. 69.

                                            COLUMN TOTALS                                                          519,436.72             519,436.72                     $0.00
                                                   Less: Bank Transfers/CDs                                                0.00           108,841.20
                                            Subtotal                                                               519,436.72             410,595.52
                                                   Less: Payments to Debtors                                                                     0.00

                                            NET Receipts / Disbursements                                        $519,436.72              $410,595.52




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                       ! - transaction has not been cleared
                                 Case 8:20-bk-03815-RCT                        Doc 87          Filed 11/01/21              Page 13 of 27

                                                                  Form 2                                                                                    Exhibit B
                                                                                                                                                            Page: 9
                                                  Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                    Trustee Name:                     CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                        Bank Name:                        Mechanics Bank
Taxpayer ID #:         **-***5168                                           Account #:                        ******6001 Checking 2
For Period Ending:     10/19/2021                                           Blanket Bond (per case limit):    $30,832,000.00
                                                                            Separate Bond (if applicable):    N/A

    1            2                        3                                        4                                 5                       6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction          Uniform         Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code         $                          $

 06/12/20              To Account #******6001           Transfer out of A/R account             9999-000                  178.00                                              178.00
 06/12/20              To Account #******6001           Transfer from A/R account               9999-000                 3,538.20                                            3,716.20
 06/30/20              Mechanics Bank                   Bank and Technology Services            2600-000                                             5.00                    3,711.20
                                                        Fees
 07/31/20              To Account #******6001           Transfer from A/R account to            9999-000            105,125.00                                          108,836.20
                                                        Checking 2
 08/01/20     101      Wells Fargo Equipment Finance,   Order Approving Sale of Vehicle,        4210-000                                         7,572.13               101,264.07
                       Inc.                             Doc. No. 37. [2016 Hino 155, VIN
                                                        #JHHYDM1H6GK002589 ]
 08/01/20     102      FORD MOTOR CREDIT                Order Approving Sale of Vehicle,        4210-000                                     12,357.28                      88,906.79
                       COMPANY LLC                      Doc. No. 37. [2016 Ford
                                                        Transit/Carrier 12’ Van, VIN
                                                        #1FTYR2XM6GKB11079 ]
 08/01/20     103      BMO Harris Bank N.A.             Order Approving Sale of Vehicle,        4210-000                                     17,490.07                      71,416.72
                                                        Doc. No. 37. [2016 Hino 268, VIN
                                                        #5PVNE8JV3G4554711 ]
 08/04/20     {8}      Sentry                           Refund from cancellation of             1290-000                 4,825.14                                           76,241.86
                                                        commercial property insurance
 08/04/20     {8}      Sentry Insurance                 Account Refund of Premium from          1290-000                 4,963.00                                           81,204.86
                                                        Insurance
 08/12/20     104      BAY AREA AUCTION                 Order Approving Compensation for        3610-000                                         5,337.50                   75,867.36
                       SERVICES, INC.                   Auctioneer, Doc. No. 51.
 08/12/20     105      BAY AREA AUCTION                 Order Approving Compensation for        3620-000                                         4,151.12                   71,716.24
                       SERVICES, INC.                   Auctioneer, Doc. No. 51.
 08/19/20     {7}      ServisFirst Bank                 Proceeds from sale of Real              1110-000                 7,500.00                                           79,216.24
                                                        Property and FF&E per Order,
                                                        Doc. No. 54.
 08/31/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          131.67                    79,084.57
                                                        Fees
 09/14/20     {8}      Florida Power & Light Company    Refund - Electric                       1290-000                  540.01                                            79,624.58
 09/14/20     {8}      Florida Power & Light Company    Refund - Electric                       1290-000                  791.15                                            80,415.73
 09/14/20     {8}      Florida Power & Light Company    Refund - Electirc                       1290-000                   16.70                                            80,432.43
 09/22/20     {16}     Ford Motor Credit Company        Refund of over payment of lien          1129-000                  608.55                                            81,040.98
 09/22/20     {8}      United Healthcare Insurance      Refund of insurance premium             1290-000                 1,096.85                                           82,137.83
                       Company
 09/30/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          136.55                    82,001.28
                                                        Fees
 10/10/20     {19}     BAY AREA AUCTION                 Sale of vehicle (2013 Hino Truck)       1129-000             17,000.00                                              99,001.28
                       SERVICES, INC.                   at Public Auction, Doc. No. 56.
 10/19/20     106      BAY AREA AUCTION                 Order Approving Compensation for        3610-000                                          850.00                    98,151.28
                       SERVICES, INC.                   Auctioneer, Doc. No. 66.
 10/19/20     107      BAY AREA AUCTION                 Order Approving Compensation for        3620-000                                         1,188.00                   96,963.28
                       SERVICES, INC.                   Auctioneer, Doc. No. 66.
 10/19/20     108      Certified Fleet Services         Order Granting Adequate                 4210-000                                         2,580.85                   94,382.43
                                                        Protection, Doc. No. 28.
 10/30/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          143.77                    94,238.66
                                                        Fees
 11/30/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          145.60                    94,093.06
                                                        Fees
 12/16/20              Transfer Debit to Metropolitan   Transition Debit to Metropolitan        9999-000                                     94,093.06                           0.00
                       Commercial Bank acct             Commercial Bank acct
                       XXXXXX7210                       XXXXXX7210




                                                                                            Page Subtotals:     $146,182.60              $146,182.60


{ } Asset Reference(s)          UST Form 101-7-TFR (5/1/2011)                                                                       ! - transaction has not been cleared
                              Case 8:20-bk-03815-RCT                       Doc 87        Filed 11/01/21             Page 14 of 27

                                                              Form 2                                                                             Exhibit B
                                                                                                                                                 Page: 10
                                              Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                               Trustee Name:                    CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                   Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***5168                                      Account #:                       ******6001 Checking 2
For Period Ending:     10/19/2021                                      Blanket Bond (per case limit):   $30,832,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                       $


                                         COLUMN TOTALS                                                        146,182.60           146,182.60                    $0.00
                                                Less: Bank Transfers/CDs                                      108,841.20             94,093.06
                                         Subtotal                                                              37,341.40             52,089.54
                                                Less: Payments to Debtors                                                                 0.00

                                         NET Receipts / Disbursements                                         $37,341.40           $52,089.54




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                 ! - transaction has not been cleared
                               Case 8:20-bk-03815-RCT                         Doc 87         Filed 11/01/21             Page 15 of 27

                                                               Form 2                                                                                  Exhibit B
                                                                                                                                                       Page: 11
                                               Cash Receipts And Disbursements Record
Case No.:              8:20-bk-03815-RCT                                   Trustee Name:                    CAROLYN R. CHANEY (290680)
Case Name:             CENTRAL MARKET OF FL II, INC.                       Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***5168                                          Account #:                       ******7210 Checking Account
For Period Ending:     10/19/2021                                          Blanket Bond (per case limit):   $30,832,000.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                    3                                           4                               5                       6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction       Uniform        Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code        $                         $

 12/16/20              Transfer Credit from Mechanics     Transition Credit from Mechanics     9999-000           94,093.06                                            94,093.06
                       Bank acct XXXXXX6001               Bank acct XXXXXX6001
 01/11/21     {8}      United HealthCare Svs Inc          Refund - Other                       1290-000                353.82                                          94,446.88
 09/28/21     {8}      United Healthcare Insurance        Health Insurance Premium Rebate      1290-000                375.69                                          94,822.57
                       Company                            for Year 2020; Policy #04J9803
 10/19/21     {8}      The New Rod and Reel Pier          Refund - Other                       1290-000           ! 1,563.19                                           96,385.76

                                          COLUMN TOTALS                                                           96,385.76                     0.00               $96,385.76
                                                   Less: Bank Transfers/CDs                                       94,093.06                     0.00
                                          Subtotal                                                                    2,292.70                  0.00
                                                   Less: Payments to Debtors                                                                    0.00

                                          NET Receipts / Disbursements                                            $2,292.70                    $0.00




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                      ! - transaction has not been cleared
                            Case 8:20-bk-03815-RCT                Doc 87        Filed 11/01/21           Page 16 of 27

                                                       Form 2                                                                 Exhibit B
                                                                                                                              Page: 12
                                       Cash Receipts And Disbursements Record
Case No.:           8:20-bk-03815-RCT                          Trustee Name:                   CAROLYN R. CHANEY (290680)
Case Name:          CENTRAL MARKET OF FL II, INC.              Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***5168                                 Account #:                      ******7210 Checking Account
For Period Ending: 10/19/2021                                  Blanket Bond (per case limit): $30,832,000.00
                                                               Separate Bond (if applicable): N/A

                                       Net Receipts:           $559,070.82
                           Plus Gross Adjustments:                    $0.00
                         Less Payments to Debtor:                     $0.00
                 Less Other Noncompensable Items:                     $0.00

                                         Net Estate:           $559,070.82




                                                                                                  NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******6000 Checking                             $519,436.72        $410,595.52                  $0.00

                                 ******6001 Checking 2                            $37,341.40               $52,089.54              $0.00

                                 ******7210 Checking Account                       $2,292.70                    $0.00         $96,385.76

                                                                                 $559,070.82             $462,685.06          $96,385.76




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                    Case 8:20-bk-03815-RCT              Doc 87      Filed 11/01/21      Page 17 of 27



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                                                         Exhibit C
                                             Analysis of Claims Register
                                Case:8:20-bk-03815-RCT               CENTRAL MARKET OF FL II, INC.
                                                                                Claims Bar Date: 07/24/20


 Claim                Claimant Name/                  Claim Type/                 Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority               Date Filed                   Allowed          to Date        Balance

5        BMO Harris Bank N.A.                        Secured                           $17,490.07    $17,490.07           $0.00
         PO Box 71951
                                                     06/16/20                          $17,490.07
         Chicago, IL 60694
         <4210-000 Personal Property & Intangibles -
         Consensual Liens>
         , 100
         Order Approving Sale of Vehicles, Doc. No. 37.
         [2016 Hino 268, VIN #5PVNE8JV3G4554711 ]
9        Wells Fargo Equipment Finance, Inc. Sandra Secured                              $7,572.13    $7,572.13           $0.00
         Schechter
                                                     06/25/20                            $7,572.13
         Lockbox# NW 8178. ACCT#
         CCAN#10389841
         1801 Parkview Dr.
         Shoreview, MN 55126
         <4210-000 Personal Property & Intangibles -
         Consensual Liens>
         , 100
         Order Approving Sale of Vehicle, Doc. No. 37.
         [2016 Hino 155, VIN #JHHYDM1H6GK002589 ]
11       FORD MOTOR CREDIT COMPANY LLC               Secured                           $12,357.28    $12,357.28           $0.00
         DEPT 55953
                                                     07/02/20                          $12,357.28
         PO BOX 55000
         DETROIT, MI 48255-0953
         <4210-000 Personal Property & Intangibles -
         Consensual Liens>
         , 100
         Order Approving Sale of Vehicle, Doc. No. 37.
         [2016 Ford Transit/Carrier 12’ Van, VIN #1FTYR2XM6GKB11079 ]
15S      Certified Fleet Services                    Secured                             $2,580.58    $2,580.85           $0.00
         7501 15th Street East
                                                     07/13/20                            $2,580.58
         Sarasota, FL 34243
         <4210-000 Personal Property & Intangibles -
         Consensual Liens>
         , 100
         Order Granting Motion for Adequate Protection, Doc. No. 28.
18       ServisFirst Bank                           Secured                                 $0.00           $0.00         $0.00
         4221 W Boy Scout Boulevard, Suite 100
                                                    07/22/20                                $0.00
         Tampa, FL 33607
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 100
         Doc. #73 | 11/16/2020 | Withdrawal of Claim(s): 18 Filed by Lara Roeske Fernandez on behalf of Creditor ServisFirst
         Bank. (Fernandez, Lara)


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                     Case 8:20-bk-03815-RCT               Doc 87        Filed 11/01/21      Page 18 of 27



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                                                            Exhibit C
                                              Analysis of Claims Register
                                Case:8:20-bk-03815-RCT                   CENTRAL MARKET OF FL II, INC.
                                                                                    Claims Bar Date: 07/24/20

 Claim                 Claimant Name/                   Claim Type/                   Amount Filed/        Paid          Claim
                                                                        Claim Ref
  No.                <Category>, Priority                Date Filed                     Allowed          to Date        Balance

FEE      CAROLYN R. CHANEY                             Administrative                      $31,203.54           $0.00    $31,203.54
         CHAPTER 7 TRUSTEE
                                                       10/19/21                            $31,203.54
         POST OFFICE BOX 530248
         ST. PETERSBURG, FL 33747-0248
         <2100-000 Trustee Compensation>
         , 200

TE       CAROLYN R. CHANEY                             Administrative                         $846.53           $0.00       $846.53
         CHAPTER 7 TRUSTEE
                                                       10/19/21                               $846.53
         POST OFFICE BOX 530248
         ST. PETERSBURG, FL 33747-0248
         <2200-000 Trustee Expenses>
         , 200

         BAY AREA AUCTION SERVICES, INC.               Administrative                        $5,337.50   $5,337.50            $0.00
         8010 U.S. HIGHWAY 19 NORTH
                                                       08/07/20                              $5,337.50
         PINELLAS PARK,, FL 33781
         <3610-000 Auctioneer/Liquidator for Trustee
         Fees>
         , 200
         Order Approving Compensation, Doc. No. 51.
         BAY AREA AUCTION SERVICES, INC.               Administrative                        $4,151.12   $4,151.12            $0.00
         8010 U.S. HIGHWAY 19 NORTH
                                                       08/07/20                              $4,151.12
         PINELLAS PARK,, FL 33781
         <3620-000 Auctioneer/Liquidator for Trustee
         Expenses>
         , 200
         Order Approving Compensation, Doc. No. 51.
         BAY AREA AUCTION SERVICES, INC.               Administrative                         $850.00      $850.00            $0.00
         8010 U.S. HIGHWAY 19 NORTH
                                                       10/13/20                               $850.00
         PINELLAS PARK,, FL 33781
         <3610-000 Auctioneer/Liquidator for Trustee
         Fees>
         , 200
         Order Approving Compensation, Doc. No. 66.
         BAY AREA AUCTION SERVICES, INC.               Administrative                        $1,188.00   $1,188.00            $0.00
         8010 U.S. HIGHWAY 19 NORTH
                                                       10/13/20                              $1,188.00
         PINELLAS PARK,, FL 33781
         <3620-000 Auctioneer/Liquidator for Trustee
         Expenses>
         , 200
         Order Approving Compensation, Doc. No. 66.




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                     Case 8:20-bk-03815-RCT             Doc 87       Filed 11/01/21      Page 19 of 27



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                                                         Exhibit C
                                             Analysis of Claims Register
                                Case:8:20-bk-03815-RCT                CENTRAL MARKET OF FL II, INC.
                                                                                 Claims Bar Date: 07/24/20

 Claim                 Claimant Name/                Claim Type/                   Amount Filed/        Paid          Claim
                                                                     Claim Ref
  No.                <Category>, Priority             Date Filed                     Allowed          to Date        Balance

         LARRY S. HYMAN                             Administrative                        $1,183.00          $0.00     $1,183.00
         P. O. BOX 18625
                                                    10/12/21                              $1,183.00
         TAMPA, FL 33679
         <3410-000 Accountant for Trustee Fees
         (Other Firm)>
         , 200

         LARRY S. HYMAN                            Administrative                           $18.35           $0.00        $18.35
         P. O. BOX 18625
                                                   10/12/21                                 $18.35
         TAMPA, FL 33679
         <3420-000 Accountant for Trustee Expenses
         (Other Firm)>
         , 200

         ROBERT J. WAHL, ESQUIRE                    Administrative                      $18,950.00           $0.00    $18,950.00
         McINTYRE THANASIDES BRINGGOLD, et al
                                                    03/15/21                            $18,950.00
         500 E. Kennedy Blvd., Suite 200
         Tampa, FL 33602
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200
         Order Approving Compensation, Doc. No.
         ROBERT J. WAHL, ESQUIRE                 Administrative                             $70.00           $0.00        $70.00
         McINTYRE THANASIDES BRINGGOLD, et al
                                                 03/15/21                                   $70.00
         500 E. Kennedy Blvd., Suite 200
         Tampa, FL 33602
         <3220-000 Attorney for Trustee Expenses
         (Other Firm) >
         , 200
         Order Approving Compensation, Doc. No.
17       G.W. Palmer & Co. Inc.                    Priority                            $217,717.84           $0.00         $0.00
         Attn: Alston Palmer
                                                   07/17/20                                  $0.00
         1080 West Rex Road, Ste. 100
         Memphis, TN 38119
         <5500-000 Claims of Farmers/Fisherman - §
         507(a)(6)>
         , 530

1        De Lage Landen Financial Services, Inc.    Unsecured                           $13,208.64           $0.00    $13,208.64
         P.O. Box 41602
                                                    05/26/20                            $13,208.64
         Philadelphia, PA 19101-1602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                    Case 8:20-bk-03815-RCT              Doc 87      Filed 11/01/21      Page 20 of 27



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                                                         Exhibit C
                                               Analysis of Claims Register
                                   Case:8:20-bk-03815-RCT            CENTRAL MARKET OF FL II, INC.
                                                                                Claims Bar Date: 07/24/20

 Claim                Claimant Name/                  Claim Type/                 Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority               Date Filed                   Allowed          to Date        Balance

2        John J. Jerue Truck Broker, Inc.            Unsecured                           $8,120.00          $0.00     $8,120.00
         PO Box 33080
                                                     06/01/20                            $8,120.00
         Lakeland, FL 33807-3080
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3        Gonzalez Produce Inc.                       Unsecured                           $7,688.00          $0.00     $7,688.00
         PO Box 310600
                                                     06/08/20                            $7,688.00
         Tampa, FL 33680
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4        Crews & Garcia, Inc.                        Unsecured                         $74,374.15           $0.00    $74,374.15
         P.O. Box 11795
                                                     06/16/20                          $74,374.15
         Tampa, FL 33680
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

6        Nissan Motor Acceptance Corp c/o Weltman, Unsecured                           $27,359.44           $0.00    $27,359.44
         Weinberg & Reis Co., L.P.A.
                                                   06/19/20                            $27,359.44
         8900 Freeport Parkway
         Irving, TX 75063
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

7        American Express National Bank c/o Becket   Unsecured                         $24,993.99           $0.00    $24,993.99
         and Lee LLP
                                                     06/22/20                          $24,993.99
         PO Box 3001
         Malvern, PA 19355-0701
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

8        BMO Harris Bank N.A. Debb White             Unsecured                              $0.00           $0.00         $0.00
         PO Box 3040
                                                     06/19/20                               $0.00
         Cedar Rapids, IA 52406
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         (duplicate of claim #5)




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                    Case 8:20-bk-03815-RCT             Doc 87      Filed 11/01/21      Page 21 of 27



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                                                        Exhibit C
                                               Analysis of Claims Register
                                Case:8:20-bk-03815-RCT              CENTRAL MARKET OF FL II, INC.
                                                                               Claims Bar Date: 07/24/20

 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

10       Florida Vine Ripe Farm Inc.                Unsecured                         $54,292.00           $0.00    $54,292.00
         1430 27th Street SE
                                                    07/01/20                          $54,292.00
         Ruskin, FL 33570
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

12-2     FORD MOTOR CREDIT COMPANY LLC              Unsecured                         $24,252.14           $0.00    $24,252.14
         DEPT 55953 PO BOX 55000
                                                    07/02/20                          $24,252.14
         DETROIT, MI 48255-0953
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

13       BMW Financial Services, N.A.               Unsecured                         $98,053.43           $0.00    $98,053.43
         Attn: Customer Accounting
                                                    07/08/20                          $98,053.43
         5550 Britton Parkway
         Hilliard, OH 43026
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

14       Penske Truck Leasing Co., L.P.             Unsecured                            $548.90           $0.00       $548.90
         2675 Morgantown Rd.
                                                    07/09/20                             $548.90
         Reading, PA 19607
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

15U      Certified Fleet Services                   Unsecured                           $1,892.80          $0.00     $1,892.80
         7501 15th Street East
                                                    07/13/20                            $1,892.80
         Sarasota, FL 34243
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

16       Fresh Origins, LLC.                        Unsecured                           $8,247.00          $0.00     $8,247.00
         570 Quarry Rd.
                                                    07/16/20                            $8,247.00
         San Marcos, CA 92069
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                                                                                          Page: 6

                                                          Exhibit C
                                               Analysis of Claims Register
                                 Case:8:20-bk-03815-RCT               CENTRAL MARKET OF FL II, INC.
                                                                                 Claims Bar Date: 07/24/20

 Claim                 Claimant Name/                  Claim Type/                 Amount Filed/        Paid          Claim
                                                                     Claim Ref
  No.                <Category>, Priority               Date Filed                   Allowed          to Date        Balance

19-2     ServisFirst Bank                             Unsecured                        $108,658.84           $0.00   $108,658.84
         4221 W Boy Scout Boulevard, Suite 100
                                                      07/22/20                         $108,658.84
         Tampa, FL 33607
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

20       ServisFirst Bank                             Unsecured                           $2,719.45          $0.00     $2,719.45
         4221 W Boy Scout Boulevard, Suite 100
                                                      07/22/20                            $2,719.45
         Tampa, FL 33607
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

21-2     Fresh Direct, Inc.                           Unsecured                         $37,874.20           $0.00    $12,321.82
         Steven M. De Falco, Esquire
                                                      07/22/20                          $12,321.82
         5395 Park Central Court
         Naples, FL 34109
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

22-2     Produce Exchange Co., Inc.                   Unsecured                         $56,370.29           $0.00    $18,339.25
         Steven M. De Falco, Esquire
                                                      07/22/20                          $18,339.25
         5395 Park Central Court
         Naples, FL 34109
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

23-2     S. Roza & Company, Inc.                      Unsecured                           $9,310.29          $0.00     $3,028.97
         Steven M. De Falco, Esquire
                                                      07/22/20                            $3,028.97
         5395 Park Central Court
         Naples, FL 34109
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

24-2     Spring Valley Produce, Inc., d/b/a Produce   Unsecured                        $194,763.33           $0.00    $63,362.60
         Connection
                                                      07/22/20                          $63,362.60
         Steven M. De Falco, Esquire
         5395 Park Central Court
         Naples, FL 34109
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                         Exhibit C
                                               Analysis of Claims Register
                                Case:8:20-bk-03815-RCT               CENTRAL MARKET OF FL II, INC.
                                                                                Claims Bar Date: 07/24/20

 Claim                Claimant Name/                  Claim Type/                 Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority               Date Filed                   Allowed          to Date        Balance

25       Euler Hermes Agent for Coosemans Tampa      Unsecured                         $30,063.75           $0.00    $30,063.75
         Euler Hermes N A
                                                     08/14/20                          $30,063.75
         800 Red Brook Blvd.
         Owings Mills, MD 21117
         <7200-000 Section 726(a)(3) Tardily Filed
         General Unsecured Claims>
         , 620

26       G.W. Palmer & Co. Inc.                      Unsecured                         $70,833.35           $0.00    $70,833.35
         Attn: Alston Palmer
                                                     07/17/20                          $70,833.35
         1080 West Rex Road, Ste. 100
         Memphis, TN 38119
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         (amends claim #17)

                                                                                       Case Total:   $51,526.95     $704,629.94




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                                       TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                              Exhibit D


      Case No.: 8:20-bk-03815-RCT
      Case Name: CENTRAL MARKET OF FL II, INC.
      Trustee Name: CAROLYN R. CHANEY

                                                     Balance on hand:       $                              96,385.76

           Claims of secured creditors will be paid as follows:

  Claim     Claimant                                         Claim        Allowed             Interim         Proposed
  No.                                                     Asserted        Amount          Payments to          Payment
                                                                          of Claim               Date

  11        FORD MOTOR CREDIT COMPANY LLC                 12,357.28       12,357.28         12,357.28              0.00
  15S       Certified Fleet Services                         2,580.58      2,580.58           2,580.85             0.00
  18        ServisFirst Bank                                    0.00             0.00               0.00           0.00
  5         BMO Harris Bank N.A.                          17,490.07       17,490.07         17,490.07              0.00
  9         Wells Fargo Equipment Finance, Inc.              7,572.13      7,572.13           7,572.13             0.00
            Sandra Schechter

                                                  Total to be paid to secured creditors:        $                  0.00
                                                  Remaining balance:                            $             96,385.76

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                          Total             Interim         Proposed
                                                                        Requested           Payments           Payment
                                                                                              to Date

  Trustee, Fees - CAROLYN R. CHANEY                                       31,203.54                 0.00      31,203.54
  Trustee, Expenses - CAROLYN R. CHANEY                                      846.53                 0.00         846.53
  Auctioneer Fees - BAY AREA AUCTION SERVICES, INC.                        5,337.50           5,337.50             0.00
  Auctioneer Expenses - BAY AREA AUCTION SERVICES, INC.                    4,151.12           4,151.12             0.00
  Attorney for Trustee Fees (Other Firm) - ROBERT J. WAHL,                18,950.00                 0.00      18,950.00
  ESQUIRE
  Attorney for Trustee Expenses (Other Firm) - ROBERT J. WAHL,                  70.00               0.00          70.00
  ESQUIRE
  Accountant for Trustee Fees (Other Firm) - LARRY S. HYMAN                1,183.00                 0.00       1,183.00
  Accountant for Trustee Expenses (Other Firm) - LARRY S. HYMAN                 18.35               0.00          18.35
  Auctioneer Fees - BAY AREA AUCTION SERVICES, INC.                          850.00            850.00              0.00
  Auctioneer Expenses - BAY AREA AUCTION SERVICES, INC.                    1,188.00           1,188.00             0.00
                       Total to be paid for chapter 7 administrative expenses:                  $             52,271.42
                       Remaining balance:                                                       $             44,114.34




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          Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total         Interim       Proposed
                                                                      Requested     Payments      Payment

                                                      None


                     Total to be paid for prior chapter administrative expenses:              $              0.00
                     Remaining balance:                                                       $         44,114.34

            In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

          Allowed priority claims are:
  Claim     Claimant                             Allowed Amount           Interim Payments            Proposed
  No.                                                   of Claim                    to Date            Payment

  17        G.W. Palmer & Co. Inc.                             0.00                    0.00                  0.00

                                                   Total to be paid for priority claims:      $              0.00
                                                   Remaining balance:                         $         44,114.34




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             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $622,294.77 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 7.1 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments            Proposed
  No.                                                      of Claim                 to Date            Payment

  1           De Lage Landen Financial                      13,208.64                  0.00              936.36
              Services, Inc.
  2           John J. Jerue Truck Broker, Inc.               8,120.00                  0.00              575.63
  3           Gonzalez Produce Inc.                          7,688.00                  0.00              545.00
  4           Crews & Garcia, Inc.                          74,374.15                  0.00             5,272.37
  6           Nissan Motor Acceptance Corp                  27,359.44                  0.00             1,939.50
              c/o Weltman, Weinberg & Reis
              Co., L.P.A.
  7           American Express National Bank                24,993.99                  0.00             1,771.82
              c/o Becket and Lee LLP
  8           BMO Harris Bank N.A. Debb                          0.00                  0.00                    0.00
              White
  10          Florida Vine Ripe Farm Inc.                   54,292.00                  0.00             3,848.75
  12-2        FORD MOTOR CREDIT                             24,252.14                  0.00             1,719.23
              COMPANY LLC
  13          BMW Financial Services, N.A.                  98,053.43                  0.00             6,950.99
  14          Penske Truck Leasing Co., L.P.                   548.90                  0.00                38.91
  15U         Certified Fleet Services                       1,892.80                  0.00              134.18
  16          Fresh Origins, LLC.                            8,247.00                  0.00              584.63
  19-2        ServisFirst Bank                             108,658.84                  0.00             7,702.80
  20          ServisFirst Bank                               2,719.45                  0.00              192.78
  21-2        Fresh Direct, Inc.                            12,321.82                  0.00              873.49
  22-2        Produce Exchange Co., Inc.                    18,339.25                  0.00             1,300.07
  23-2        S. Roza & Company, Inc.                        3,028.97                  0.00              214.72
  24-2        Spring Valley Produce, Inc., d/b/a            63,362.60                  0.00             4,491.76
              Produce Connection
  26          G.W. Palmer & Co. Inc.                        70,833.35                  0.00             5,021.35
                           Total to be paid for timely general unsecured claims:              $       44,114.34
                           Remaining balance:                                                 $            0.00




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            Tardily filed claims of general (unsecured) creditors totaling $30,063.75 have been allowed and
    will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
    claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
    interest (if applicable).
            Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                                Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment

  25        Euler Hermes Agent for                        30,063.75                    0.00                      0.00
            Coosemans Tampa

                        Total to be paid for tardily filed general unsecured claims:          $                  0.00
                        Remaining balance:                                                    $                  0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                              Allowed Amount         Interim Payments               Proposed
  No.                                                    of Claim                  to Date               Payment

                                                       None


                                                Total to be paid for subordinated claims: $                      0.00
                                                Remaining balance:                        $                      0.00




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